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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

 UNITED STATES OF AMERICA
                                              No. 24 CR 609
              v.
                                              Judge Jorge L. Alonso
 DARVELL LUSTER

              PROTECTIVE ORDER GOVERNING DISCOVERY

      Upon the agreed motion of the government, pursuant to Fed. R. Crim. P. 16(d)

and 18 U.S.C. § 3771(a)(1) and (8), it is hereby ORDERED:

      1.     Certain materials exchanged by the parties, provided by the United

States, or produced by third parties, in preparation for, or in connection with the

proceedings in this case contain particularly sensitive information (“Sensitive

Information”). Sensitive Information is defined as: (1) nonparty names, addresses,

dates of birth, driver’s license numbers, social security numbers, and other

identifying information; (2) nonparty financial information; (3) statements by, and

reports from interviews of witnesses who have been or are cooperating with the

government’s investigation; and (4) any information that might disclose the identity

of a cooperating individual.

      2.     All materials containing Sensitive Information (the “materials”),

including those previously produced to the defendant in this case, are subject to this

protective order and may be used by defendant and defendant’s counsel (defined as

counsel of record in this case) and those employed or consulted by the Federal

Defender Program, solely in connection with the defense of this case, and for no other
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purpose, and in connection with no other proceeding, without further order of this

Court.

         3.   The Materials shall be plainly marked as sensitive by the government

prior to disclosure. No such Materials, or the information contained therein, may be

disclosed to any other persons other than defendant, counsel for defendant, persons

employed or consulted by the Federal Defender Program, the person to whom the

sensitive information solely and directly pertains, persons who are interviewed as

potential witnesses, counsel for potential witnesses, and other persons to whom the

Court may authorize disclosure (collectively, “authorized persons”) without prior

notice to the government and authorization from the Court. Potential witnesses and

their counsel may be shown copies of the Materials as necessary to prepare the

defense, but may not retain copies without prior permission of the Court.

         4.   Defendant, defendant’s counsel, and authorized persons shall not copy

or reproduce the materials except in order to provide copies of the materials for use

in connection with this case by defendant, defendant’s counsel, and authorized

persons. Such copies and reproductions shall be treated in the same manner as the

original materials.

         5.   Defendant, defendant’s counsel, and authorized persons shall not

disclose any notes or records of any kind that they make in relation to the contents of

the materials, other than to authorized persons, and all such notes or records are to

be treated in the same manner as the original materials.


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      6.     Before providing materials to an authorized person, defense counsel

must provide the authorized person with a copy of this Order.

      7.     Upon conclusion of all stages of this case, all of the materials and all

copies made thereof shall be disposed of in one of three ways, unless otherwise

ordered by the Court. The materials may be (1) destroyed; (2) returned to the United

States; or (3) retained in defense counsel's case file. The Court may require a

certification as to the disposition of any such materials. In the event that the

materials are retained by defense counsel, the restrictions of this Order continue in

effect for as long as the materials are so maintained, and the materials may not be

disseminated or used in connection with any other matter without further order of

the Court.

      8.     To the extent any material is produced by the United States to

defendant or defendant’s counsel by mistake, the United States shall have the right

to request the return of the material and shall do so in writing. Within five days of

the receipt of such a request, defendant and/or defendant’s counsel shall return all

such material if in hard copy, and in the case of electronic materials, shall certify in

writing that all copies of the specified material have been deleted from any location

in which the material was stored.

      9.     The restrictions set forth in this Order do not apply to documents that

are or become part of the public court record, including documents that have been

received in evidence at other trials, nor do the restrictions in this Order limit defense


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counsel in the use of discovery materials in judicial proceedings in this case, except

that any document filed by any party which attaches or otherwise discloses specially

identified sensitive information as described in Paragraph 1, above, shall be filed

under seal to the extent necessary to protect such information, absent prior

permission from this Court.

      10.    Nothing contained in this Order shall preclude any party from applying

to this Court for further relief or for modification of any provision hereof.

                                         ENTER:



                                         JORGE L. ALONSO
                                         DISTRICT COURT JUDGE
                                         United States District Court
                                         Northern District of Illinois

Date: 2/19/2025




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